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EXHIBIT 15

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lll\'l'l`l€|) S'l`A'l`F,S l)ISTRICT C()UR'l`
S()ll'l`lll".RN l)lS'I`RlC'l` ()F INI)IANA
lNl)I./\NAPOLlS l)lVlSl()N

US./\ GYMNAS'l`lC`S.

l’|:tinll|`l`.
\'.
Case No.
ACE AMERlCAN lNSURANC|Z COMPANY
t`/k/a CIGNA lNSUR/\NCF. C`()MP/\NY,
GREAT AMlSRlC/\N ASSUR/\NCI?Z
COMl’/-\NY, l,.lBlSR'l`Y lNSUR/\NCE
UNDERWRl'|`|'€RS lNC., NA'l`lON/\L
CASUAL'I`Y COMPANY, RSU| lNDEMNITY
COMP/\NY, 'l`lG lNSURANCF, COMPANY,
VIRGlNl/\ SUR|E'|`Y COl\/ll’/\NY. lNC. l`/k/a
COMBlNl`SI) Sl’lECl/\L'I`Y lNSUR/\NC|`:`
COMl’/\NY,

VVV\_/VVVVV`/\./\-/\/V`V

De|`endants.
l)ECL/\RATI()N OF DAVII) A. TEMPLE

|’ut'suant to 28 ll.!~`».(",`. §1746. l)avid A. 'l`emplc declares and st'atcs:

l. 'l`he statements made in this declaration are based upon personal knowledge I am
over the age o|`cighleen (lS). and l am competent to testify to the matters stated herein.

2. l am an attorney. and l have been retained by 'l`lG insurance Company ("'l`lG
lnsurance”) as one ol` its defense counsel in an action currently pending in Mai'ion Superior
C.`ourt entitled "llS/\ G_\'mnaslies \»'. /\Cli /\merican insurance Compan_v, ct al.." Causc No.
¢19D()1-1804-l’l.~0l3423 (tlte “State Court Action”).

3. l am authorized by 'l`lG insurance to make this declaration on its behall`.

4. 'l`lG lnsurance consents to the removal of the State Court Action l`rom Marion
Superior Court to the United States District Court, Southern District oi`lndiana, lndianapolis

Division.

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5. 'I`his consent to removal is being filed simultaneously with and in support ol` the
Notice of Removal filed by Def`endant, ACE American Insurance Company f`/k/a CIGNA

lnsuranee Compan_v.

l AFF|RM UNDER THE PENALT|ES OF PERJURY THA'I` THE FOREGOING
STATEMENTS AND FAC'I`S ARE TRUE AND ACCURA'I`E TO 'I`HE BEST OF MY
KNO\VLEDGE AND BELIEF.

z _/_ f -\ ~ c-» -_""'”-\ ‘ F__ ` , 7 ~~~~ '
Dated: / c.";>? ,’BY )Z&’ /é'/__?_::_;,/,__ ?‘\‘//' _,)
' David A. Tcmple _'__ ..

DREWRY SlMMONS VORNEHM, LLP
736 Hanover Place, Suite 200

Carmcl, lN 46032

(317) 580-4848

(317) 580-4855 (fax)

 

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